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                                   5                                   UNITED STATES DISTRICT COURT

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                                                                      NORTHERN DISTRICT OF CALIFORNIA
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                                   9     AARON KUDATSKY, on behalf of
                                         himself, and on behalf of those similarly-
                                  10     situated,                                            No. C 19-07647 WHA

                                  11                    Plaintiffs,

                                  12             v.
Northern District of California




                                                                                              ORDER RE MOTION FOR FINAL
 United States District Court




                                                                                              SETTLEMENT APPROVAL AND
                                  13     TYLER TECHNOLOGIES, INC.,                            MOTION FOR ATTORNEYS’ FEES
                                  14                    Defendant.

                                  15

                                  16
                                                                              INTRODUCTION
                                  17
                                              In this wage-and-hour class action, defendant technology company allegedly
                                  18
                                         misclassified employees, depriving them of overtime and other wages. Parties now move for
                                  19
                                         final approval of their settlement and plaintiffs move for attorneys’ fees and costs. To the
                                  20
                                         extent stated, the motions are GRANTED.
                                  21
                                                                                STATEMENT
                                  22
                                              Prior orders detailed the facts involving our now-familiar plaintiffs, implementation
                                  23
                                         consultants (ICs) and defendant software company, Tyler Technologies, Inc. (Dkt. Nos. 98,
                                  24
                                         130). Since then, the notice process appears to have reached all 295 putative class members,
                                  25
                                         by either First Class mail or email. Class counsel received no objections. Two class members
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                                         opted out for a total of 99.3% participation in this settlement. The total settlement fund now
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                                   1     comes to $3,258,313.61 (Brome Final. App. Decl. ¶¶ 2–3; Brome Decl. Re Class Service

                                   2     Provisions (“Brome Addendum Decl.”) ¶ 9).

                                   3           Additionally, two class members disputed Tyler’s calculations of their dates of

                                   4     employment and settlement payments. In response, parties met and conferred. Tyler

                                   5     determined that it had used “incomplete employment data” for the two objecting class

                                   6     members. It agreed to revise its calculation of those two and, su esponte, the hours of five

                                   7     others. This entitled the class to an additional $128,979.45. To pay for this, the agreement

                                   8     provides for draining the contingency fund ($20,000) and using the funds that would have been

                                   9     paid to two opt-out plaintiffs $665.84). That not sufficing, Tyler agreed to foot the remaining

                                  10     $108,313.61 (the “supplemental payment”) to cover the additional funds owed to the seven

                                  11     employees with corrected employment data (Brome Addendum Decl. ¶¶ 8–9).

                                  12           Parties now move for final approval of the settlement and for fees and costs. There are
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                                  13     no oppositions. This order follows a stipulated motion for final approval and a fairness hearing

                                  14     (telephonic due to COVID-19).

                                  15                                                ANALYSIS

                                  16           “The class action device, while capable of the fair and efficient adjudication of a large

                                  17     number of claims, is also susceptible to abuse and carries with it certain inherent structural

                                  18     risks.” Officers for Just. v. Civ. Serv. Comm’n of City & Cty. of San Francisco, 688 F.2d 615,

                                  19     623 (9th Cir. 1982). A settlement purporting to bind absent class members must be fair,

                                  20     reasonable, and adequate. See FRCP 23(e). Rule 23(e)(2) requires district courts to employ a

                                  21     two-step process: First, the parties must show the district court will likely be able to approve

                                  22     the proposed settlement. Second, the district court must hold a hearing to make a final

                                  23     determination of whether the settlement is fair, reasonable, and adequate. We have arrived at

                                  24     step two.

                                  25           Our court of appeals recently explained that the final fairness assessment must analyze

                                  26     the eight Churchill factors: (1) the strength of the plaintiff’s case; (2) the suit’s risk, expense,

                                  27     and complexity; (3) the risk of maintaining class action status throughout the trial; (4) the

                                  28     amount; (5) the extent of discovery and stage; (6) abilities and views of counsel; (7) a
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                                   1     governmental participant (if any); and (8) the “reaction of the class members of the proposed

                                   2     settlement.” Kim v. Allison, 8 F.4th 1170, 1178–79 (9th Cir. 2021) (quoting In re

                                   3     Bluetooth Headset Prods. Liab. Litig., 654 F.3d 935, 946 (9th Cir. 2011)); Churchill Vill. v.

                                   4     Gen. Elec., 361 F.3d 566 (9th Cir. 2004). Additionally, Rule 23(e)(2) requires the district court

                                   5     to consider the adequacy of the actual notice procedure, “the terms of any proposed award of

                                   6     attorney’s fees,” scrutinize the settlement for evidence of collusion or conflicts of interest, and

                                   7     consider other, relevant factors before deeming the settlement fair. See Briseño v. Henderson,

                                   8     998 F.3d 1014, 1024–26 (9th Cir. 2021).

                                   9          In short, in consideration for the dismissal of this action with prejudice and a release of

                                  10     claims, Tyler agrees to make a settlement payment of $3,258,313.61. Of this, $2,450,813.61

                                  11     will be allocated to the 294 participating class members on a pro-rata basis. This order finds

                                  12     the proposed settlement fit for final approval.
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                                  13          1.      THE CHURCHILL FACTORS.
                                  14          This order reviews the eight Churchill factors. The factors support settlement.

                                  15          First, the strength of plaintiffs’ case supports settlement. Plaintiffs would have had the

                                  16     burden of establishing that Tyler violated various wage laws. Most notably, plaintiffs contend

                                  17     that Tyler erroneously mis-classified ICs as administratively exempt from the overtime

                                  18     requirement (see Cal. Lab. Code §§ 510, 1194, and 1198, and IWC Wage Order(s)).

                                  19     California’s Wage Order 4–2001 provides that for the administrative exemption to apply, the

                                  20     employee must (1) perform “office or non-manual work directly related to management

                                  21     policies or general business operations” of the employer or its customers, (2) “customarily and

                                  22     regularly exercise[] discretion and independent judgment,” (3) “perform[] under only general

                                  23     supervision work along specialized or technical lines requiring special training” or “execute []

                                  24     under only general supervision special assignments and tasks,” (4) be engaged in the activities

                                  25     meeting the test for the exemption at least fifty percent of the time, and (5) earn twice the

                                  26     state’s minimum wage.

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                                   1          The parties briefed cross motions for summary judgment on this claim. Plaintiffs’

                                   2     counsel estimates 60% chance of success on the claim (Brome Prelim. App. Decl. ¶ 6). The

                                   3     ICs would have had to show, as a class, both that they worked overtime and that due to

                                   4     misclassification, Tyler owed them money for that time. Showing a willful violation or losing

                                   5     to Tyler’s good faith defense would cut the FLSA damages substantially. Failure to show that

                                   6     Tyler acted knowingly, intentionally, and willfully could defeat the wage-statement and

                                   7     waiting-time-penalty claims. See Lab. Code §§ 226(e)(1), 203. Furthermore, plaintiffs would

                                   8     be required to establish that out-of-state workers are entitled to all provisions of the labor code

                                   9     by proving not just that they traveled into California (per Tyler records) but also that they

                                  10     performed work in California. See Ward v. United Airlines, Inc., 9 Cal.5th 732 (2020).

                                  11     Therefore, substantial risk remains for plaintiffs, both at summary judgment and at trial.

                                  12           Second, the risk, expense, and complexity of the case supports settlement. Our class
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                                  13     certification order held,

                                  14                  For now, certification applies solely to this issue: whether Tyler
                                                      properly classified ERP ICs as administratively exempt from
                                  15                  overtime and other California labor laws (or not). We will revisit
                                                      possible certification of the other claims after we hold a trial on the
                                  16                  certified issue. At that point, the Court will be better-informed to
                                                      process the multitudinous and bone-crushing details of how plaintiff
                                  17                  might establish class-wide overtime liability
                                  18
                                         (Dkt. No. 98 at 3). The order then held in abeyance, “the motion to certify a class as to the
                                  19
                                         overtime, wage statement, waiting period, and UCL claims” (ibid.). Therefore, only the legal
                                  20
                                         question of the administrative exemption stands ready for summary judgment and, perhaps,
                                  21
                                         trial. Another round of class certification, dispositive motions, and possibly another trial
                                  22
                                         would have to follow on the remaining claims. Even if summary judgment were to enter for
                                  23
                                         plaintiffs, a damages phase could require still more painstaking litigation. This factor supports
                                  24
                                         the settlement agreement.
                                  25
                                               Third, the risk of maintaining class action status throughout the trial militates in favor of
                                  26
                                         settlement. Currently, to repeat, only the issue of administrative classification glues this class
                                  27
                                         together — future class certification motions on the other claims await. Establishing class-
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                                   1     wide liability would require digging for common proof regarding whether the nonresident class

                                   2     members performed work in California and whether the class members worked overtime.

                                   3     Plaintiffs would be required to show such common proof exists. This factor favors settlement.

                                   4          Fourth, the amount of the settlement award endorses the settlement agreement. Early on,

                                   5     Tyler agreed to a settlement payment of $3.15 million. Now, that figure has increased to

                                   6     $3,258,313.61, and the settlement will distribute $2,450,813.61 to 294 individuals (the 295-

                                   7     member class, minus two opt outs, plus named-plaintiff Aaron Kudatsky). This amounts to an

                                   8     average of over $8,000 per person. Assuming this order accepts 25% to counsel for fees and

                                   9     costs, plaintiffs contend that Tyler will pay 79% of the reasonable value of plaintiffs’ claims

                                  10     (30.5% of the maximum value of $7,653,620.09). Especially considering the likely costs of

                                  11     protracted litigation, this order finds the recovery amount fair and reasonable. See In re Mego

                                  12     Fin. Corp. Sec. Litig., 213 F.3d 454, 459 (9th Cir. 2000) (Brome Final App. Decl. ¶¶ 5–7;
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                                  13     Brome Prelim. App. Decl. ¶¶ 5–8; Brome Fees and Costs Decl. ¶ 5).

                                  14          Fifth, the stage of the proceedings supports settlement. A class was certified. Motions

                                  15     for partial summary judgment remain pending. Defendants have produced over one-million

                                  16     pages of documents, which information class counsel used to calculate potential damages.

                                  17     Parties have conducted eleven depositions. In short, this settlement occurred in the shadow of

                                  18     trial, and each got to preview the evidence that the other side would have shown to a jury. The

                                  19     parties also had the benefit of settlement discussions under the guidance of Magistrate Judge

                                  20     Ryu (Brome Prelim. App. Decl. ¶ 4).

                                  21          Sixth, the abilities and views of counsel support settlement. Class counsel has extensive

                                  22     experience in wage-and-hour cases. See, e.g., Parr v. Stevens Transp., Inc., 2019 WL

                                  23     4933583, at *3 (N.D. Cal. Oct. 7, 2019); Oman v. Delta Air Lines, Inc., 230 F. Supp. 3d 986

                                  24     (N.D. Cal. 2017) (Judge William H. Orrick). This order finds counsel have diligently applied

                                  25     nose to the grindstone to litigate class certification and to move for partial summary judgment.

                                  26     Counsel for both sides have approached settlement negotiations with the same zeal.

                                  27          Seventh, no government entity participated in this action. This factor is neutral.

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                                   1          Eighth, the reaction of the class members of the settlement is positive, with 99.3%

                                   2     participation and favorable resolution of disputes that enriched the class by more than one-

                                   3     hundred thousand dollars. No class member objected (Brome Prelim. App. Decl. ¶ 3). Hence,

                                   4     this factor supports the settlement.

                                   5          In sum, the settlement agreement ranks highly under the Churchill factors.

                                   6          2.      RULE 23 FACTORS AND OTHER RELEVANT CONSIDERATIONS.
                                   7          Consideration of the Churchill factors alone does not suffice. See Briseño, 998 F.3d at

                                   8     1025–26. This order accordingly evaluates whether the settlements fairly, reasonably, and

                                   9     adequately compensate the class under the factors enumerated in Rule 23(e)(2) not fully

                                  10     addressed by the Churchill factors and other, relevant considerations.

                                  11          First, “The class must be notified of a proposed settlement in a manner that does not

                                  12     systematically leave any group without notice.” Officers for Justice v. Civil Serv. Comm’n of
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                                  13     City & Cty. of San Francisco, 688 F.2d 615, 624 (9th Cir. 1982) (citation omitted). The Court

                                  14     has previously approved the parties’ proposed notice procedures for the class (Dkt. No. 130).

                                  15     In the motion for final approval, class counsel declared that counsel mailed notice of the

                                  16     settlement to all 295 class members and opt-in plaintiffs. Class counsel emailed notice to 244

                                  17     of the same. Class and Tyler’s counsel posted the notice to their website. Ten First-Class

                                  18     notices were forwarded to new mailing addresses. Fourteen First-Class notices were returned

                                  19     undeliverable. Five of the fourteen recipients confirmed receipt by email, however. Class

                                  20     counsel performed skip traces for the remaining nine, and re-mailed notices. These appear to

                                  21     have been delivered. Of the emailed notices, three bounced back. Counsel could not identify

                                  22     other email addresses, but the First-Class-mailed notices appear to have gone through.

                                  23     Therefore, it appears all class members got notice. The notice informed class members about

                                  24     all key aspects of the settlement, the date, time, and place of the fairness hearing, the process

                                  25     for objection and opt-out, and estimated recovery in settlement (Brome Final. App. Decl. ¶¶ 2,

                                  26     3). This notice appears effective and supports settlement.

                                  27          Second, the plan of allocation is also fair and reasonable. After expenses, attorney’s fees,

                                  28     administrative costs, and service awards are paid out, the final settlement will deliver
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                                   1     $2,450,813.61 to 294 individuals. The net proceeds will be apportioned to each participating

                                   2     class member with no amount reverting to defendants. “The damages model assumes that all

                                   3     ICs worked ten hours per day (or 50 hours per week) prior to March 12, 2020, when the global

                                   4     COVID-19 pandemic effectively ended travel for ICs, and nine hours per day (or 45 hours per

                                   5     week) thereafter” (Brome Fees and Costs Decl. at ¶ 4). Settlement payments range from $200,

                                   6     for employees who are only receiving pay as California travel class members, up to

                                   7     $61,442.50. Seventy-one individuals will receive $200 to $1,000; 149 individuals will receive

                                   8     $1,000 to $10,000; and 74 individuals will receive over $10,000 (Brome Prelim. App. Decl. ¶¶

                                   9     8–9). Based on the risks of establishing liability and damages at trial — and the risks of

                                  10     maintaining class certification — this plan of allocation presents a minimally fair recovery to

                                  11     class members.

                                  12          Third and fourth, as stated at preliminary approval, the settlement agreement does not
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                                  13     reclassify employees, but the scope of release is appropriately narrow. While not required,

                                  14     reclassification would be an important remedy not captured by the common fund. Parties

                                  15     address this problem by explicitly not releasing any claims that accrued after April 19, 2021.

                                  16     Furthermore, the release of claims is limited to those defined by our certified class.

                                  17          Fifth, the cy pres recipient, Legal Aid at Work, helps employees, pro bono, to become

                                  18     private attorneys general enforcing the statutes at issue in this case. See Dermis v. Kellogg Co.,

                                  19     697 F.3d 858, 865 (9th Cir. 2012). Similarly, the organization supports the interests of silent

                                  20     class members. See ibid. This order approves Legal Aid at Work as cy pres recipient.

                                  21          3.      FLSA.
                                  22          Settlement of FLSA claims must be approved by the district court or the Labor Secretary.

                                  23     Where FLSA class members are similarly-situated to other class members, most district courts

                                  24     analyze the settlement to see if it represents “a fair and reasonable resolution of a bona fide

                                  25     dispute over FLSA provisions.” See Otey v. Crowdflower, Inc., 2016 WL 304747, at *3 (N.D.

                                  26     Cal. Jan. 26, 2016) (Judge John S. Tigar), quoting Lynn’s Food Stores, Inc. v. United States,

                                  27     679 F.2d 1350, 1355 (11th Cir. 1982); see also 29 U.S.C. § 216(b). The legal issues at play in

                                  28     the dispute for FLSA and non-FLSA class members flow from the same alleged misconduct by
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                                   1     Tyler. Thus, the FLSA class members appear similarly-situated. The bona fide disputes

                                   2     include applicability of FLSA exemptions, defenses including scienter, statutes of limitations,

                                   3     hours worked, and method of calculating damages. All FLSA opt-ins sent in their release of

                                   4     claims forms and are participating. The monetary reward appears fair and reasonable,

                                   5     especially for FLSA class members. This order finds that plaintiffs have met the FLSA

                                   6     standard for settlement approval.

                                   7          In short, having considered the applicable factors, this order finds the proposed class

                                   8     settlement is fair, reasonable, and adequate so as to warrant final approval. The Court,

                                   9     however, shall retain jurisdiction to enforce the terms of the settlement for just six months from

                                  10     the date of this order. Accordingly, and to the extent stated, final approval of the proposed

                                  11     class settlement and plan of allocation is GRANTED.

                                  12          4.      MOTION FOR ATTORNEY’S FEES, COSTS, AND INCENTIVE
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                                                      AWARDS.
                                  13
                                                      A.      FEES.
                                  14
                                              A district court must ensure that attorney’s fees are “fair, adequate, and
                                  15
                                         reasonable.” Staton v. Boeing Co., 327 F.3d 938, 963–64 (9th Cir. 2003). “In ‘common-fund’
                                  16
                                         cases where the settlement or award creates a large fund for distribution to the class, the district
                                  17
                                         court has discretion to use either a percentage or lodestar method.” Counsel argue that the
                                  18
                                         percentage method should be applied in the instant motion. Our court of appeals has
                                  19
                                         recognized twenty-five percent of the common fund as a benchmark award for attorney’s
                                  20
                                         fees. Hanlon v. Chrysler Corp., 150 F.3d 1011, 1029 (9th Cir. 1998). California law
                                  21
                                         authorizes the percentage method for awarding attorney’s fees in common fund cases.
                                  22
                                         See Laffitte v. Robert Half Int’l Inc., 1 Cal. 5th 480, 503 (Cal. 2016). The undersigned finds
                                  23
                                         the percentage method to be appropriate under the circumstances.
                                  24
                                              Counsel seeks $787,500.00. This represents 25% of the original gross settlement fund,
                                  25
                                         but only 24% of the revised gross settlement fund (of $3,258,313.61). This discrepancy is due
                                  26
                                         to the fact that counsel did not seek 25% of Tyler’s additional payment to the fund (those
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                                   1     additional payment, undertaken voluntarily, amounted to $108,313.61). The $787,500.00

                                   2     represents 32% of the net fund ($2,450,813.61) (Brome Addendum Decl. ¶¶ 8–9).

                                   3          Class counsel conducted substantial motion practice and extensive discovery. Further,

                                   4     counsel also worked on a contingent-fee basis despite the risks of litigation, which were

                                   5     substantial in this case — and for approximately two years. The issues here are clearly

                                   6     complex: our order certified a class only on the issue of classification, leaving many more

                                   7     litigious issues for the ultimate question of liability, were it to proceed. Counsel has achieved a

                                   8     payment of 30.5% of the maximum value of the claims, or 79% of the realistic value. This

                                   9     appears to be a fair settlement. The 25% fee scheme received no objections from class

                                  10     members, who received the proposed fee percentage with the notice of settlement and

                                  11     opportunity to opt-out (Brome Final App. Decl. ¶ 3).

                                  12          Finally, the lodestar is $323,385.00, and lodestar multiplier comes out to 2.34: this
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                                  13     calculation uses 984.2 hours total to date and another forty hours of work split evenly between

                                  14     lawyers and non-lawyers to finalize settlement payments. Fees ranged from $175/hour for

                                  15     non-lawyer hours to $575 for partner Rachhana T. Srey, $450 for associate Daniel Brome, and

                                  16     short bursts by attorneys Matthew Helland ($650/hour) and Reena Desai ($500/hour) (ibid.).

                                  17     These compare favorably to recent approvals. See, e.g., Bisaccia v. Revel Sys. Inc., 2019 WL

                                  18     3220275, at *8 (N.D. Cal. July 17, 2019) (Judge Haywood Gilliam). All of these factors weigh

                                  19     in favor of this attorney’s fees payment (Brome Fees and Costs Decl. ¶¶ 15–17, 23–25).

                                  20          The fees appearing reasonable, the award is GRANTED.

                                  21                  B.      COSTS.
                                  22          Counsel has incurred a total to date (as of September 14, 2021) of $18,957.28 in

                                  23     unreimbursed costs but it anticipates additional costs associated with distributing settlement

                                  24     payments and continuing to store electronic discovery, for a total of $20,000.00 in costs

                                  25     (Brome Fees and Costs Decl. ¶ 11). The largest component of claimed expenses are for

                                  26     deposition transcripts (approximately $8,800.00). The second-largest are electronic storage

                                  27     costs ($4,300.00 to date). Counsel also seek reimbursement for mailing notices ($2,700.00 to

                                  28     date). The latter two will increase with settlement. Other costs flow from filing, Pacer,
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                                   1     advertising, and legal research, and a few miscellaneous categories, and amounted to $3,000.00

                                   2     (see id. ¶¶ 11–25). Appearing reasonable for this two-year and multi-million-dollar action, the

                                   3     $20,000.00 request for costs is APPROVED.

                                   4                  C.      INCENTIVE AWARD.
                                   5           Plaintiff Kudatsky requests $5,000 as an incentive award. Tyler has not lodged any

                                   6     opposition to this request. Kudatsky declares, under oath, that he worked closely with class

                                   7     counsel throughout the litigation, providing about 80 hours of work. Such work included

                                   8     providing relevant documents to class counsel, reviewing, and discussing documents including

                                   9     Tyler’s written discovery requests, preparing for a deposition, being deposed for a full day,

                                  10     attending two settlement conferences with Judge Ryu, and discussing the case with other class

                                  11     members (see id. ¶¶ 4–9).

                                  12           As cautioned in the “Notice Regarding Factors to be Evaluated for Any Proposed Class
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                                  13     Settlement,” “[a] request for an incentive payment is a red flag.” Incentive awards pose the

                                  14     risk that a class representative has gone along with a settlement, not because it secures a good

                                  15     outcome for the class, but simply, in part at least, for the incentive award. Such awards should

                                  16     therefore be subject to careful scrutiny. Kudatsky declares that he sought employment in the

                                  17     same technology field after leaving Tyler’s employ but suffered eleven months of

                                  18     unemployment after initiating this suit. His name tops the marquee. An award of $1,000 to

                                  19     Kudatsky is reasonable under these circumstances and no others are warranted (Dkt. Nos. 35,

                                  20     132 at 18, 19).

                                  21           In sum, class counsel shall receive $20,000.00 as reimbursement for litigation expenses,

                                  22     to be paid promptly from the settlement fund. As for attorneys’ fees, defendant shall wire

                                  23     transfer fifty percent of the total $787,500.00 as of the effective date as defined in the

                                  24     settlement. The remaining fifty percent shall be paid when defendants certify that all funds

                                  25     have been properly distributed and the file can be completely closed.

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                                   1                                            CONCLUSION

                                   2          To the extent stated, final approval of the class settlement, attorneys’ fees, costs, and

                                   3     incentive awards, are GRANTED.

                                   4          IT IS SO ORDERED.

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                                   6     Dated: November 17, 2021.

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                                                                                                 WILLIAM ALSUP
                                   9                                                             UNITED STATES DISTRICT JUDGE
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                                  12
Northern District of California
 United States District Court




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